Case 1:22-cv-06632-FB-RML Document 18-1 Filed 06/09/23 Page 1 of 12 PageID #: 423




                        Exhibit A
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page612 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 317
                                                                                424




          COUNTERCLAIMS AGAINST PLAINTIFFS RADIX, HEAVEN and SAM

          Counterclaim Plaintiffs United Better World Solutions LLC and Ricardo Black

  (hereinafter collectively referred to as the “Counterclaim Plaintiffs”) complaint as to the

  Counterclaim Defendants Cheryl Radix (“Radix”), Audra Heaven (“Heaven”), and Achebe Sam

  (“Sam”)(also hereinafter collectively referred to as the (“Counterclaim Defendants”):

                    Counterclaim and Second Third-Party Complaint Parties

          279.   Counterclaim Plaintiff Ricardo Black is a resident of the State of New York.

          280.   Counterclaim Plaintiff Ultimate Better World Solutions is a domestic limited

  liability corporation organized and authorized to conduct business in the State of New York since

  2014.

          281.   Counterclaim Defendant Radix is a resident in the Commonwealth of Virginia.

          282.   Counterclaim Defendant Heaven is a resident in the State of New York.

          283.   Counterclaim Defendant Sam is a resident in the State of New York.

                                      Jurisdictional Statement

          284.   The Court has jurisdiction over the subject matter of this action pursuant to the

  Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1964(c), as well as pendent

  and/or supplemental jurisdiction over the Counterclaim Plaintiffs’ common law claims pursuant

  to 28 U.S.C. § 1367.

          285.   Venue is proper pursuant because many of the acts and transactions giving rise to

  the violations of law alleged in these Counterclaims occurred in this District.



                                                  61
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page623 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 318
                                                                                425




                          Background Facts Related To Counterclaims

  A.     Counterclaim Defendants as Promoters Of Kensington International Inc.

         286.   Counterclaim     Defendant    Radix   entered   in   an   Independent    Marketing

  Representative (“IMR”) Agreement with Kensington International Inc. on September 17, 2018.

         287.   Counterclaim Defendant Radix was referred to Kensington International Inc. by

  non-party Hasani Henry.

         288.   The IMR Agreement authorized Counterclaim Defendant Radix to market

  Kensington International Inc. products and programs.

         289.   Counterclaim Defendant Radix agreed to explain Kensington International, Inc.’s

  programs honestly and in entirety without embellishment, distortion or misrepresentation.

         290.   Pursuant to the terms of the IMR Agreement, Counterclaim Defendant Radix was

  paid a commission depending on the number of investors that said Counterclaim Defendant was

  able to get to enroll in the Wealth Through Partnership Program.

         291.   Counterclaim Defendant Heaven entered in an Independent Marketing

  Representative (“IMR”) Agreement with Kensington International Inc. on July 24, 2018.

         292.   Counterclaim Defendant Heaven was referred to Kensington International Inc. by

  non-party Petula Hamilton.

         293.   The IMR Agreement authorized Counterclaim Defendant Heaven to market

  Kensington International Inc. products and programs.

         294.   Counterclaim Defendant Heaven agreed to explain Kensington International,

  Inc.’s programs honestly and in entirety without embellishment, distortion or misrepresentation.
                                                 62
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page634 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 319
                                                                                426




         295.   Pursuant to the terms of the IMR Agreement, Counterclaim Defendant Heaven

  was paid a commission depending on the number of investors that said Counterclaim Defendant

  was able to get to enroll in the Wealth Through Partnership Program

         296.   Counterclaim     Defendant    Sam     entered   in   an   Independent    Marketing

  Representative (“IMR”) Agreement with Kensington International Inc. on October 4, 2018.

         297.   Counterclaim Defendant Sam was referred to Kensington International Inc. by

  Counterclaim Defendant Radix.

         298.   Based upon recommendations made by Counterclaim Defendant Radix,

  Counterclaim Defendant Sam invested in Kensington International, Inc.

         299.   The IMR Agreement authorized Counterclaim Defendant Sam to market

  Kensington International Inc. products and programs.

         300.   Counterclaim Defendant Sam agreed to explain Kensington International, Inc.’s

  programs honestly and in entirety without embellishment, distortion or misrepresentation.

         301.   Pursuant to the terms of the IMR Agreement, Counterclaim Defendant Sam was

  paid a commission depending on the number of investors that said Counterclaim Defendant was

  able to get to enroll in the Wealth Through Partnership Program.

  B.     Counterclaim Defendants Provided Misrepresentations                 About      Kensington
         International, Inc. To Prospective Investors

         302.   In the interest of brevity, the Counterclaim Plaintiffs UBWS incorporate by

  reference into the counterclaims, the allegations set forth in paragraphs 42-155 of Plaintiffs’

  Complaint (Exhibit “A” without attachments) into the Counterclaims.



                                                 63
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page645 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 320
                                                                                427




          303.   Upon information and belief, the Counterclaim Defendants and other non-party

  IMR agents hosted parties in their respective homes for presentations regarding investing in the

  Wealth Through Partnership Program.

          304.   The IMR representatives provided marketing brochures regarding Kensington

  International, Inc.’s program and products to the friends and family members.

          305.   In addition to providing friends and family with marketing brochures regarding

  Kensington International, Inc.’s programs and products, the Counterclaim Defendants

  recommended to friends and family to visit Kensington International Inc’s website and social

  media platforms.

          306.   The IMR representatives misrepresented the nature of its investment proposition

  to prospective investors by representing that Kensington International Inc was a well-capitalized

  institution.

          307.   The IMRs portrayed investing in Kensington International Inc, as a risk-free yet

  lucrative opportunity which would result either in a profit from the resale of property, or simple

  repayment of the loan with an acceptable rate of interest.

          308.   The IMRs represented to prospective investors that Kensington International, Inc.

  had adequate backup funds.

          309.   But the specific falsity in these representations was that Kensington International,

  Inc. was adequately capitalized and had enough cash on hand to repay its loans from investors.

          310.   These representations regarding Kensington International, Inc.’s capitalization

  and its ability to repay prospective investors were materially false or misleading when made. The


                                                  64
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page656 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 321
                                                                                428




  statements and omissions concerned the state of Kensington International, Inc. at the time other

  prospective investors were induced to furnish monies to Kensington International, Inc.

         311.    The Counterclaim Defendants represented to investors that Kensington

  International Inc. was already a profitable, established, and financially sound real estate

  investment firm.

         312.    The Counterclaim Defendants provided investors with materially false and/or

  misleading when the statements were made because the Counterclaim Defendants had been

  doing business for many years and had a track record of profitability and success.

         313.    In fact, Kensington International, Inc. was not well-established at all because

  corporate records showed that it had only been incorporated in November of 2017.

         314.    By and through the brochures that they received, the Counterclaim Defendants

  further represented that the Kensington International, Inc.’s owners and employes had experience

  in the investment and real estate industry.

         315.    For example, the Kensington International, Inc.’s brochures stated that “Our real

  estate professionals have a combined 50 years of experience in the real estate industry. Our team

  is comprised of contractors, real estate agents, brokers, seasoned investors, and the combined

  experience of this group has afforded us intimate and detailed of market trends in the Greater

  New York Area.”

         316.    The representations in the preceding paragraph were materially false or

  misleading when made.




                                                 65
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page667 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 322
                                                                                429




         317.    The Counterclaim Defendants misleadingly omitted that Kensington International

  Inc.’s team was headed by a convicted criminal fraudster.

         318.    By the brochure and making reference to various websites, the Counterclaim

  Defendants further represented to prospective investors that Kensington International, Inc. had a

  track record of success in earning meaningful returns for investors.

         319.    The representations made by the Counterclaim Defendants as set forth in the

  previous paragraph were materially false or misleading when made.

         320.    As further inducement and assurances to prospective investors, the Counterclaim

  Defendants advised investors that Kensington International, Inc. offered personal guarantees by

  its main principals, Defendants John Gelin and Eyan Edwards.

         321.    In advertising these personal guarantees, the Counterclaim Defendants falsely

  assured investors that if Kensington International, Inc. was somehow unable to repay its loam

  from investors, Defendants John Gelin and Eyan Edwards would cover the loans with their own

  assets, when in fact they did not have both the financial stability and the intention to meet these

  obligations.

         322.    These representations and omissions regarding Defendants John Gelin and Eyan

  Edwards’ financial ability and intention to abide by their guarantees were materially false and/or

  misleading when made.

         323.    The totality of the circumstances discussed herein and in the Plaintiffs’ Complaint

  permit the reasonable inference that the Counterclaim Defendants persuaded investors to enter




                                                  66
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page678 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 323
                                                                                430




  into agreements with Kensington International, Inc. based upon a slew of promises that

  Kensington International, Inc. did not intend to perform on.

          324.    One of those investors who relied upon the representations discussed above and in

  the Plaintiffs’ Complaint was Counterclaim Defendant Sam who was recruited by Counterclaim

  Defendant.

  C.      Counterclaim Defendants Do Not Have Viable Claims Against The Counterclaim
          Plaintiffs.

          325.    The Counterclaim Defendants decided in due course of action to abuse the

  processes of the federal courts to secure for themselves a judgment against the Counterclaims

  Plaintiffs that were not based in fact.

          326.    The Counterclaim Defendants failed to plead sufficient accurate facts about any

  alleged actions by the Counterclaim Plaintiffs when in fact the Counterclaim Defendants had an

  integral role in damages sustained by the Plaintiffs, the Counterclaim Defendants and other

  members of the purported class.

          327.    The Counterclaim Defendants’ claims against the Counterclaim Plaintiffs failed to

  comply with the pleading requirements pursuant to Fed. R. Civ. P. Rule 8.

                                                COUNT I
                                         (Malicious Prosecution)

          328.    Counterclaim Plaintiffs repeat, reiterate and reallege each and every allegation

  contained in paragraphs marked “279” through “327,” inclusive with the same force and effect as

  if fully set forth herein at length.

          329.    The Counterclaim Defendants initiated civil procedures against the Counterclaim

  Plaintiffs.
                                                   67
Case
Case 1:22-cv-06632-FB-RML
     1:22-cv-06632-FB-RML Document
                          Document 18-1
                                   15 Filed
                                        Filed05/08/23
                                              06/09/23 Page
                                                        Page689 of
                                                                of 71
                                                                   12 PageID
                                                                      PageID #:
                                                                             #: 324
                                                                                431




          330.    The Counterclaim Defendants in commencing a civil procedure action against the

  Counterclaim Plaintiffs were acting without probable cause.

          331.    The civil procedure commenced against the Counterclaim Plaintiffs for alleged

  RICO violations, fraudulent inducement, breach of contract, breach of fiduciary duty, fraudulent

  concealment, and equitable accounting.

          332.    The Counterclaim Defendants acted with malice, that they acted primarily for a

  purpose other than that of securing the proper adjudication of the claim on which the proceedings

  are based.

          333.    The proceedings of the instant lawsuit commenced by the Counterclaim

  Defendants will ultimately be terminated and decided in favor of the Counterclaim Plaintiffs.

          334.    The Counterclaim Plaintiffs have been damaged as a result of the frivolous claims

  alleged by the Counterclaim Defendants because it has to expend its limited resources and

  monies to defend against these claims and the allegations raised by the Counterclaim Defendants

  has seriously impeded present and future business activities of the Counterclaim Plaintiffs, as

  well as tainted its reputation in the industry.

                                               COUNT II
                                         (Fraudulent Inducement)

          335.    Counterclaim Plaintiffs repeat, reiterate and reallege each and every allegation

  contained in paragraphs marked “279” through “334,” inclusive with the same force and effect as

  if fully set forth herein at length.

          336.    To induce investors to furnish monies to Kensington International, Inc., the

  Counterclaim Defendants made several material representations and omissions.

                                                    68
Case
 Case1:22-cv-06632-FB-RML
      1:22-cv-06632-FB-RML Document
                            Document18-1
                                     15 Filed
                                         Filed05/08/23
                                               06/09/23 Page
                                                         Page69
                                                              10ofof71
                                                                     12PageID
                                                                        PageID#:#:325
                                                                                   432




          337.    These material misrepresentations and omissions were made during house parties,

  through advertisement of the brochure and websites, as detailed in paragraphs 286-324 above

  and in Plaintiffs’ Complaint.

          338.    The Counterclaim Defendants were reckless in the publication of these false

  alleged statements of facts in an attempt to harm the Counterclaim Plaintiffs.

                                              Count III
                                         (Breach of Contract)

          339.    Counterclaim Plaintiffs repeat, reiterate and reallege each and every allegation

  contained in paragraphs marked “274” through “338,” inclusive with the same force and effect as

  if fully set forth herein at length.

          340.    The Counterclaim Defendants had entered into IMR Agreements with Kensington

  International, Inc.

          341.    The Counterclaim Defendants breached the IMR Agreement by providing

  material misrepresentations to prospective investors, including to Counterclaim Defendant Sam,

  about Kensington International, Inc.’s programs.

          342.    As a direct and proximate result of the Counterclaim Defendants’ actions, the

  Counterclaims Defendants’ breach of the IMR Agreements have caused investors to suffer and

  continue to suffer monetary damages in an amount to be proven at trial.

                                             Count IV
                                           (Contribution)

          343.    Counterclaim Plaintiffs repeat, reiterate and reallege each and every allegation

  contained in paragraphs marked “274” through “342,” inclusive with the same force and effect as

  if fully set forth herein at length.
                                                  69
Case
 Case1:22-cv-06632-FB-RML
      1:22-cv-06632-FB-RML Document
                            Document18-1
                                     15 Filed
                                         Filed05/08/23
                                               06/09/23 Page
                                                         Page70
                                                              11ofof71
                                                                     12PageID
                                                                        PageID#:#:326
                                                                                   433




         344.    That although the Defendants/Counterclaim Plaintiffs UBWS have denied the

  allegations of wrongdoing Plaintiffs assert against them in Plaintiffs’ Complaint, should said

  Defendants/Counterclaim Plaintiffs UBWS be found to be liable to the Plaintiffs and other

  members of the class action, then such liability shall derive from the active and affirmative

  wrongdoings of the Counterclaim Defendants Cheryl Radix, Audra Heaven, and Achebe Sam.

         345.    As a result of the negligence, recklessness, omissions and/or carelessness of the

  Counterclaim Defendants Cheryl Radix, Audra Heaven, and Achebe Sam, they are solely liable

  for any and all damages to the Plaintiffs and other members of the class action may have

  suffered.

         346.    That, by reason thereof, Defendants/Counterclaim Plaintiffs UBWS are entitled to

  indemnification and/or contribution from the Counterclaim Defendants Cheryl Radix, Audra

  Heaven, and Achebe Sam.

         WHEREFORE, Defendants and Counterclaim Defendants Ultimate Better World

  Solutions, LLC and Ricardo Black demand judgment against the Plaintiffs and Counterclaim

  Defendants Cheryl Radix, Audra Heaven, and Achebe Sam:

         1.      Dismissing the action set forth in the Complaints with costs as to Defendants

  Ultimate Better World Solutions, LLC and Ricardo Black;

         2.      compensatory damages against the Counterclaim Defendants, jointly and

  severally, for all damages sustained by as a result of Counterclaim Defendants’ wrongdoing, in

  an amount to be proven at trial;

         3.      statutory and/or punitive damages;


                                                70
Case
 Case1:22-cv-06632-FB-RML
      1:22-cv-06632-FB-RML Document
                            Document18-1
                                     15 Filed
                                         Filed05/08/23
                                               06/09/23 Page
                                                         Page71
                                                              12ofof71
                                                                     12PageID
                                                                        PageID#:#:327
                                                                                   434




           4.       Reasonable costs and expenses incurred in this action including attorneys’ fees

  and costs; and

           5.       For such other relief which this Court may deem just and proper.

  Dated:        New York, New York
                May 8, 2023

                                                   Yours, etc.

                                                   LAW OFFICE OF DIMITRIOS
                                                   KOUROUKLIS, PH.D.

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                                                    71
